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                        Exhibit D




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m©~-...o~,.s ;.**~-~m~ . DOBBINS, W[IR, THOMPSON & ST[PH[NSON



    O~e 25, 1979




    Walter E. Wunderlich
    Deputy Attorney General
    555 Capitol ~4a~l, Suite 350
    Sacramento, Ca~ 95814
    Re$   People oflthe State of California vs. Pacific Woo~ Preserving
    Dear Mr. Wunde~lich:
    I apologize for the delay in this correspondence, but was awaiting
    the action by the Regional Water Quality Control Board on the
    Engineering Report of CH2M HILL of 9 May, 1979. It is my ~d6r-
    standing that oral approval has been given by the Board for one of
    the proposals for corrective action, and that the cost of these
    steps to Pacific Wood Preserving would be in excess of $i00,000.00
    In addition to those sums already expen~ed.
    I realize that!this cost, standing alone, would not be a basis upon
    which to mitigate the pending lawsuit concerning past violations,
    particularly if sai~ violations had been, in fact, intentional as
    described in the language of the pleading.
    I have been provided information concerning the steps taken by
    Pacific Wood i~ the matter and would, like to detail those below.
         I. The Cieanup and Abatement Order was issued on March 2,
    1978, and Pacific Wood had begun cleanup in February.
         2. In ~e months of February - May of 1978, Pacific Wood
    spend $36,628.~2 to comply with the cleanup order and to onstruct
    improvements tO assure adequate containment of future discharge of
    toxic materials.
         3. It is !my understanding that a formal engineering report
    was not prepared, but that corrective action was taken after dis-
    ~ussion between Pacific Wood and representatives of the Water
    Qual~ty Contro~ Board.
         4. The B0ard’s recommendation of Yebraa~ 23, i~79 to the
    Attorney General’s Office was based, in part, on the mistaken




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   Walter B. wUn’derlich
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   belief that Pacific Wood had intentionally ignored three or four
   reports of $iolation, and took no steps to insure nonrepetition
   of ~he repo~ed violations. Apparently there was testimony at the
   hearing of memo’s which are routinely sent by Board personnel after
   findings ofviolations.
   At s~me point after the hearing, in tel~:sone conversations, Mr.
   Richard Rose indicated to the plant manager of Pacific Wood that
   the only ma~led notice to Pacific Wood was in June of 1978, and
   that nothin~was sent on other occasions. I enclose herewith a
   ~opy of a memo typed by Mr. Ryan to this effeot.
  Apparently, bral notice was given by the inspector at the time of
  each violation to a Mr. Murphy, who was at that ti~e the plant
  manager at Pacific Wood (~his information ~omes from o~r discussion,
  not from any~record of Pacific Wood), and Mro Murphy no longer is
  ~mployed at Pacific Wood. Richard Jackson, owner of Pacific Wood,
  indioates that he had no knowledge of these violations and that word
  was not passed on to him by his then manager.
     have discussed wlthmy client the lagal responsibility of the
   oorporation for action (or inaction} by an employee, and the appli-.
   ~atlon of the law to our case. I have further relayed our dis-
   oussion regarding your willingness to consider argumants to reduce
   an agreeablelsettlement figure from the sum-of $16,000.00.
   Due to the e~pense of the $I00,000.00 cleanup project presently
   being implim~n~ed, but bearing in mind the expense to the State in
   initiating t~is suit, I have been authorized to offer $2500°00 as
   a full oost Settlement.
   Apparently the communication between Pacific Wood and the staff
   (Mr. Vaughn and Mr. PhillIpi} has improved signifloantlywlth the
   replacement ~fMr. Murphy by Steve Ryan, and.we foresee no future
   problems. P~ease discuss the above with Board representatives and
   advise me of ~our decision.
   Yours very    truly,



   DONALD P. ST~HENSON
   rips/be




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